                         Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 1 of 14
~.AO 245C      (Rev 09111) Amended Judgment in a Criminal Case                                                        (NOTE Identify Changes \\ Ilh Aste""s (' II
               Sheet J



                                           UNITED STATES DISTRICT COURT
                            FOR THE                                  District of                               MASSACHUSETTS

          UNITED STATES OF AMERICA                                             AMENDED JUDGMENT IN A CRIMINAL CASE
                                v.
                                                                               Case Number: 10-CR-10440-DPW-19
                       NOEL WILLIAMS
                                                                               USM Number: 93632-038
Date of Original Judgment: _2_1_4/_2_0_13                        _             Rudolph F. Miller
(Or Date of Last Amended Judgment)                                             Defendant's Attorney

Reason for Amendment:
D Correction of Sentence on Remand (18 USc. 3742(1)(1) and (2))                D Moditlcation of SuperviSIOn Conditions ( 18 lJ SC ~~ 3'63(c I or 3',~31 ell
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim                D Modification of Imposed Term of Imprisonment for Extraordlll"" and
    P 35(b))                                                                        Compelling Reasons (18 USC ~ 3582(c)( I))
D Correction of Sentence by Sentencmg Court (Fed. R Crim P 35(a))              D Modification of Imposed Term or Imprisonment for Retroactl\ e Am\'numcnll,)
                                                                                                                              ~ 3,82(c)(2))
r;t Correction ofSemence for Clerical Mistake (Fed R. Crim. P 36)                   to the Sentencing GUidelines (18 1I S C

                                                                               D Direct Motion to District Courl Pursuanl D 28 USC ~ 22', 0"
                                                                                 D 18USC.~3559(c)(7)
                                                                               D Modification of Restitution Order (18 USC ~ 3664)
THE DEFENDANT:
~ pleaded guilty to count(s)           1 of the Indictment on 4/26/12
D pleaded nolo contendere to count(s)
     which was accepted by the court.
o was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                            Offense Ended
                                   ';:'Conspiracy to Distribute Cocaine and Cocaine Base                            12/2/2010




       The defendant is sentenced as provided in pages 2 through               10         of this judgment. The sentence is imposed pursuant tu
the Sentencing Reform Act of 1984.
                                                                         -----
D The defendant has been found not guilty on count(s)
D CO;Jnt(s)                                      D is D are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States Attorney tor this district within 30 day s of an~ change of name. residence.
or mailing address until all tines, restitution, costs, lmd special assessments imposed by this judgment are lully paid. It'ordered to pa~ re~tiluli()n.
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                               2/4/2013




                                                                               Signa ure of Judge
                                                                               Douglas P. Woodlock                                U.S.D.J
                                                                                                                 ----
                                                                               7;);:";'1 5, 14IJ
                                                                               Datto:
                                                                                                                                 Tille of Judge
                   Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 2 of 14
 AO 245C     (Rev 09111) Amended Judgment in a Criminal Case
             Sheet 2 - Impnsonment                                                                     (NOTE Identlt\ Change, II Jtil ASlemks 1')1

                                                                                                    Judgment -   Page _2__ of              10
 DEFENDANT: NOEL WILLIAMS
 CASE NUMBER: 10-CR-10440-DPW-19

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

72 months.

Defendant shall receive credit for time served.


  rt The court makes the following recdmmendations to the Bureau of Prisons:
Defendant should be designated to a facility as close as possible to his family/relatives. Defendant should be designated to
an institution commensurate with security where he can receive appropriate drug treatment, including participation in the
500-Hour Residential Drug Abuse Program.

 riI The defendant is remanded to the custody of the United States Marshal.
 D    The defendant shall surrender to the United States Marshal for this district:

      D      at                                      D     a.m   D    p.m.        on

      D      as notified by the United States Marshal.

 D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      D      before 2 p.m. on

      D      as notified by the United States Marshal.

      D      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                           to

 at                      .                             _ with a certified copy ofthisjudgment.




                                                                                                 UNITED STATES MARSHAL


                                                                             By                                                                  _
                                                                                            DEPUTY UNITED STATES MARSHAL
                    Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 3 of 14
 AO 245C       (Rev. 09/11) Amended Judgment in a Criminal Case
               Sheet 3 - Supervised Release                                                                       \NOTE Identl!'. Changes with Asterl'ks ('))

                                                                                                                               3_ of
                                                                                                               Judgmenl-Page _ _                      10
 DEFENDANT: NOEL WILLIAMS
 CASE NUMBER: 10-CR-10440-DPW-19
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

4 years.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of releasc frulll
 the custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a wntrullcd
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, ~ ~ x not Eo exceed 104 tests per year I as directed.
 D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
 lit The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon. (Check. if appl icable.)
 lit The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
 D       The defendant shall register with the state sex offender registration agency in the state where the defendant resides. lIorks. or is a
         student, as directed by the probation officer. (Check, if applicable.)
 D       The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         I f this judgment imposes a fine or restitution, it is a condition of superv ised release that the defendant pay in accordance II ith
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that ha\c been adopted by this court as II ell as II ith any additional
 conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation of/icer:
   3)     the defendant shall answer truthfully all inquiries by the probation officer and tallow the instructions of the probation officer:
   4)     the defendant shall support his or her dependents and meet other family responsibilities:
   5)     the defendant shall work regularly at a lawful occupation, unless excusecJ by the probation officer for schooling. training. or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute. or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
   8)     the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered:
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person COni icted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement ofticer:
  12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a ~:pecial agent of a law enforcement agency I\itholll the
          permISSion of the court; and                                                     .
  13)     as directed by the probation officer, the defendant shall notit)' third parties ofrisks that may be occasioned b\ the de t"endant' s cri Illinal
          record; personal history, or characteristics and shall permit the probar.iun officer to 'make such notifications and contirm the
          defenoant's compliance with such notification requirement.
               Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 4 of 14
AO 245C   (Rev. 09/11) Amended Judgment in a Criminal Case
          Sheet 3A - Supervised Release                              (NOTE IdentIfy Changes" Ith Asterisks I' )I

                                                                   Judgment-- Page   _4_ ,,!            10
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19

                                  ADDITIONAL SUPERVISED RELEASE TERMS
DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY THE US
PROBATION OFFICE, WHICH PROGRAM MAY INCLUDE TESTING, NOT TO EXCEED 104 DRUG TESTS PER YEAR,
TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE USE OF ALCOHOL OR DRUGS THE
DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES FOR SUCH TREATMENT
BASED ON THE ABILITY TO PAY OR AVAILABILITY OF THIRD PARTY PAYMENT.

IF ORDERED DEPORTED, THE DEFENDANT IS TO LEAVE THE UNITED STATE AND IS NOT TO RETURN WITHOUT
PRIOR PERMISSION OF THE SECRETARY OF THE DEPARTMENT OF HOMELAND SECURITY.
                     Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 5 of 14

AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                            (NOTE Identity Change, \\ nh Asle"""   (* I)


                                                                                                    Judgment -   Page __5__ 01'              10
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
                                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                                                            Restitution
TOTALS              $ 100.00                                             $                              $



ellJ The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case (AO 245(') \\ill he
     entered after such determination.

o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned p.ayment. unless specitied olhem ise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i). all non federal victims musl be paid
    before the United States is paid.

Name of Payee                                                        Total Loss*           Restitution Ordered         Priority or Percentage
              -   ~~-"'~~~

                         tLfl~~fJl"'~ ~




                         .~. cl+",~~
                                 ~

                                                       '"
                             j   ."   :;';:.1,'0::'.    '




TOTALS                                                               $                       $
                                                                                              -------
o Restitution amount ordered pursuant to plea agreement $                            _

o The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to J 8 U.S.c. § 3612( 0. All of the payment options on Sheet 6 may he subject
     to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o The court determined that the defendant does not have the ability to pay interest. and it is ordered that:
  o the interest requirement is waived for o fine o restitution.
  o the interest requirement for       0 fine        0 restitution is modified ~s follows:


* Findings for the total amount of losses are required under Chapters 109A, 110. II OA, and 113A of Title 18 for offenses committed on or
after September 13,1994, but before April 23, 1996.
                  Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 6 of 14


AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                               (NOTE Identity Changes with AsterISks (')1

                                                                                                                         6_
                                                                                                       Judgment - Page _ _         "r        10
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    r;t Lump sum payment of $ _10_0_._0_0                 _ due immediately, balance due

           o not later than                                         .or
           ~ in accordance with        0    C,     o 0,         0   E,or    ~F below; or

B    0     Payment to begin immediately (may be combined with              0 C.     0 D. or     0 F below): or
C    0     Payment in equal               (e.g., weekly, monthly, quarterly) installments of $                      over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g .. 30 or 60 days) alter the date ofthisiudgment: or

D    0     Payment in equal               (e.g., weekly. monthly. quarterly) installments of $                  over a period or
          _ _ _ _ _ (e.g., months or years). to commence                (e.g.. 30 or 60 days) alter release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within               (e.g .. 30 or 110 day s) after release Ii'om
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

F    r;t Special instructions regarding the payment of criminal monetary penalties:
          DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $100.00, IMMEDIATELY OR ACCORDING TO A
          PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH THE PROBATION OFFICER, IF
          NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A BUREAU OF PRISONS FINANCIAL
          RESPONSIBILITY PROGRAM,


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal moneta" penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal S'ureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount. and
     corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
~ The defendant shall forfeit the defendant's interest in the following property to the United States:
    See attached Preliminary Order of Forfeiture.


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) tine principal.
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                        Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 7 of 14

AO 245C      (Rev. 09/11) Criminal Judgment
            Attachment (Page 1) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT: MASSACHUSETTS
                                                             STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGA TION REPORT

      A     !if     The court adopts the presentence investigation report without change.

      B     0      The court adopts the presenten ce investigation report with the following changes.
                   (Check all that apply and specify court determination, fmdlngs, or comments, referencing paragraph numbers In the presentence repurt. If appllc"hk I
                   (Use page 4 if necessary.)

                    o    Chapter Two of the L.S.S.G, Manual determinations by court (including changes to base offense level. or
                         specific offense charactens!Jcs)'




            2       0    Chapter Three of the U.S.S.G. Manual determinations by court (mcludlng changes to victim-related adlustments
                         role in the offense, obstruction oflust Ice, multiple counts, or acceptance of responsibilitvi




                    o    Chapter Four of the L.S.S,G, Manual determinations by court (including changes to criminal hIStory categol'\ or
                         scores, career offender, or cnminal livelIhood determinatIOns)




            4       0    Additional Comments or Findings (including comments or factual findings concernmg certain mt()rmatlOn m the
                         presentence report that the Federal Bureau of Prisons may rely on when It makes mmate classiflcatJOn. deslgnatlDn.
                         or programming deciSIOns)




      C     0       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A     0       No count of conviction carries a mandatory minimum sentence.


      B ~           Mandatory minimum sentence imposed.


      C 0           One or more counts ofconyiction alleged in the indictment carry a mandalOry minimum term ofimpnsonment hut the
                    sentence imposed is below a mandatory nllnimum term because the court has detemlmed that the mandatuf\ I1llllimUm
                    does not apply based on

                    o findings oHact in thIS case
                    o    substantial assistance (18 USC ~ 3553(e))
                    o the statutory safety valve (18 U.S.C ~ 3553(1))


III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level: ...::;3..;.1_......,...n-                      _
      Criminal History Category:                vi
      Imprisonment Range:        188                 to _2_3_5_~ months
      Supervised Release Range:            4               to 5         years
      Fine Range: $ 15,000                   to $ 5,000,000
      r;t   Fine waived or below the guideline range because of inability to pay.
                            Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 8 of 14

AO 245C      (Rev. 09/11) Criminal Judgment
            Attachment (Page 2) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT: MASSACHUSETTS
                                                               STATEMENT OF REASONS

IV   ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

     A 0                 The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart


     B       0           The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                         (Use page 4 if necessary)



     C       0           The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                         (Also complete Section V)

     D       iil         The court imposed a sentence outside the advisory sentencing guideline system. (Also complete SectIOn VI)


V    DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GU IDELINES (If applicable.)

     A       The sentence imposed departs (Check only one.):
             o   below the advisory guideline range
             o   above the advisory guideline range

     B       Departure based on (Check all that apply.):
                              Plea Agreement (Check all that apply and check reason(s) below.):
                              o    SKl.1 plea agreement based on the defendant's substantial assistance
                              o    SK3.1 plea agreement based on Early Disposition or "Fast-track" Program
                              o    binding plea agreement for departure accepted by the court
                              o    plea agreement for departure, which the court finds to be reasonable
                              o    plea agreement that states that the government will not oppose a defense departure motion.

             2                Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below):
                              o    SK 1.1 government motion based on the defendant's substantial assistance
                              o    SK3.1 government motion based on Early Disposition or "Fast-track" program
                              o   government motion for departure
                              o   defense motion for departure to which the government did not object
                              o   defense motion for departure to which the government objected

             3                Other
                              o   Other than a plea agreement or motion by the parties for departure (Check reason(s) helow.):

      C          Reason(s) for Departure (Check all that apply other than SK 1.1 or SK3.1.)

0    4A13          Cnminal History Inadequacy                  0    SK2 I    Death                                    0    SK2 II     Lesser Harm

0    5HU           Age                                         0    5K22     PhySIcal InlUry                          0    SK2 12     (oerewn and Duress

0    5HU           Education and Vocational Skills             0    SK2J     Extreme PsychologIcal InJUry             0    SK2 iJ     DIminished CapaLl!\

0    SHU           Mental and Emotional Condition              0    SK24     AbductIOn or Unlawful Reslramt           0    SK2 1-1    PubliC Welfare

                                                                                                                      0    51'.2 \6   VoluntarY Disclosure of Offense
0    5HL4          Physical Condition                          0    SK2S     Property Damage or Loss

0    5HU           Employment Record                           0    sK2.6    Weapon or Dangerous Weapon               0     SK2 17    lligh-Capaclty. Semiautomatic \\ eapo"

0    5HI6          Family Ties and Responsibilities            D    5K2.7    Disruption of Government FunctIon        D     SK2 18    Violent Street Gang

0    5HIlI         Military Record, Charitable SerVice,        D    sK2.8    Extreme Conduct                          0     SKi 20    Aberrant BehaVIOr
                                                                                                                                      Disl1l1\Sed Jlld l rn(hJr~l'J ('OJlduLt
                   Good WorkS                                  D    5K29     Criminal Purpose                         0     'iK221

                                                                                                                      D     SK222     Age or Health 01 Sex Ulknckrs
0    SK2.0         Aggravating or Mitlgatmg CIrcumstances      0    SK2 10    Vlcllm's Conduct
                                                                                                                                      Dlsch~rgeJ Terms 01 ImprtSonmcnt
                                                                                                                      D     51'.223

                                                                                                                      D     Other gUldelll1e baSIS \e g. 2B I I commentary I


      D          Explain the facts justifying the departure, (Use page 4 if necessary.)
                     Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 9 of 14

AO 245C    (Rev. 09111) Criminal Judgment
          Attachment (Page 3) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT: MASSACHUSETTS
                                                             STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORV GUIDELINE SVSTE\l
     (Check all that apply.)
     A    The sentence imposed is (Check only one.):
          I;tf below the advisory guideline range
          o    above the advisory guideline range

     B    Sentence imposed pursuant to (Check all that apply.):
                       Plea Agreement (Check all that apply and check reason(s) below.):
                       o       binding plea agreement for a sentence outside the advisory guidelme system accepted by the court
                       o       plea agreement for a sentence outstde the adVISOry gUldelme system, WhICh the court finds to be reasonable
                       o       plea agreement that states that the government will not oppose a defense motion to the court to senience outside the JJv lSorv gUIJel1l1c
                               system

          2            Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                       ~       government motion for a sentence outsIde of the advisory guidelme system
                       o       defense motion for a sentence outside of the adVISOry gUldelme system [0 which the government did nol object
                       o       defense motion for a sentence outside of the adVISOry gUideline system to which the government lIhlcllcJ

          3            Other
                       ~       Other than a plea agreement or motion by the parties for a sentence outside of the advisory gUidel me system (Checl-, reJ,on(, I belo\\ )


     C    Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

          I;tf the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 1& U S.C ~ 3"51(a)( I I
          I;tf to reflect the seriousness of the otTense, to promote respect for the law, and to prnvlde IllSt punl5hment for the lItiensc t I ~ \ S (' .~ '\:'" \1 ,\ lie I\.\ II
          I;tf to afford adequate deterrence to crrminal conduct (18 USC § 3553(a)(2)(8))
          o     to protect the public from fllrther crimes of the defendant (18 US.C ~ 3553(a)(2)(C))
          o     to provide the defendant with needed educational or vocational trainmg, medical care, or other correcll<lI1al treatment In the most dlect" e manner
                (18 U.SC § 3553(a)(2)(D))
          I;tf to avoid unwarranted sentencing disparities among defendants (18 US C § 3553(3)(6))
          o     to provide restitution to any victims of the offense (18 USC § 3553(a)(7))



     D    Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessar:- .)

              Given the defendant's age, the career offender category's overstatement of his criminal history and the likelihood
              of the defendant's deportation, the sentence is sufficient but no greater than necessary to serve the purposes of
              § 3553.
                    Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 10 of 14

A024SC     (Rev. 0911 I) Criminal Judgment
          Attachment (Page 4) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT: MASSACHUSETTS
                                                         STATEMENT OF REASONS

VII COURT DETERMINATIONS OF RESTITUTION

     A    iZf   Restitution Not Applicable.

     B    Total Amount of Restitution:

     C    Restitution not ordered (Check only one.):

                o For offenses for which restitution is otherv,;ise mandatory under 18 US C. 3663A. restItutIon is not ordered heeause the numher of
                                                                                                    ~
                      identifiable victims is SO large as to make restitution Impracticable under 18 USC ~ 3663A(c)(1I(A)

          2     0     For offenses for which reslIlution IS otherwise mandatory under 18 LJ S C ~ 3663A. reStltullon IS nol oruemJ hee..>"," lkternlllllng lOmr le \
                      issues of fact and relating them to the cause or amount of the victims' losses would complicate 01 prolong lhe ,entenclng procl'" to" lkgrcl'
                      that the need to provide restitutIOn to any victim would be outweighed by the burden on the sentenclllg process under 18 liS C ~ 1661AI ell' II BI

          3     0     For other offenses for which restitution is authorized under 18LJ.S.C. ~ 3663 and/or required hv the sentenclIlg gllldelllles. restllutJ(1Il1S not
                      ordered because the complication and prolongation of the sentenclllg process resultlllg from the fashlOnlllg of a restlllltJ(1Il oruer oUlwclgh
                      the need to provide restitutIOn to any vlctlms under 18 US C ~ 3663(a)(1 )(8)(11)

          4     0     Restitution is not ordered for other reasons (Explam)




     D     0    Partial restitution is ordered under 18 U.S.c. ~ 3553(c) for these reasons:




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (Ifapplicahle.)




                    Sections L II, III, IV, and VII of the Statement of Reasons form must be completed in all felon} cases.




                                                                                                        ~;~~;OI1IrpO';ti?;r~t
Defendant's Soc. Sec. No.:        XXX-XX-8026


                                                                                                         ILI~, ~_~I_ _­
Defendant's Date of Birth:        1956

Defendant's Residence Address:                                                                          Stgnatu      Of
                                                                                                                   Judge
 Dorchester, MA                                                                                         Douglas P. Woodlock                         U.S.D.J.
Defendant's Mailing Address:                                                                            Name of Judger J                          TiJ,k: oJ.:.I.)l1 9
 Unknown.                                                                                               Date Signed re".v~                  ''4    .J ~ ("U ")
    Case 1:10-cr-10440-DPW Document 587 Filed 02/05/13 Page 11 of 14




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETIS

UNITED STATES OF AMERICA                        )
                                                )
                   v.                           )      Criminal No. 10- )0440-DPW
                                                )
19. NOEL WILLIAMS,                             )
                Defendant.                     )


                         PRELIMINARY ORDER OF FORFEITLRE
 WOODLOCK, D.J.

        WHEREAS, on December 23,2010 a federal grand jury sitting in the District of

Massachusetts returned a sixteen-count Indictment charging defendant Noel Williams (the

"Defendant"), and others, with Conspiracy to Distribute More than 500 Grams of Cocaine and

More than 280 Grams of Cocaine Base, in violation of2 J U.S.c. § 846 (Count One) I;

       WHEREAS, the Indictment contained a forfeiture allegation. pursuant 21 LJ.S.c.

§ 853, which provided notice that the United States sought the forfeiture. upon conviction of the

Defendant of the offense alleged in Count One of the Indictment. jointly and severally. of an) and

all property constituting, or derived from, any proceeds the Defendant obatianed. directl) (lr

indirectly, as a result of the offense; and/or any property used or intended to be used. in any manner

or part, to commit, or to facilitate the commission of, such violation.

       WHEREAS, on May 5,2011 the United States filed a Bill of Particulars giving nolice that

it sought the forfeiture of additional specific assets pursuant to 21 U.S.c. § 853:

       WHEREAS, on June 6.2011, the United States filed a Second Bill of Particulars.

providing notice of specific property that the government intended to forfeit pursuant to 21 U.S.l·.



1 The Defendant was not charged in counts two through sixteen of the Indictment.
_ _ _ _ _ _ _ _ _ _ _ _ _ _~1                                                    .__ ­
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§ 853 as a result of violations of 21 U.s.c. § 846;

       WHEREAS, the Second Bill of Particulars identified for forfeiture any and all propert)

constituting or derived from, any proceeds the defendants obtained, directly or indirectly, as a

result of such offenses; and/or any property used or intended to be used. in any manner or part, to

commit, or to facilitate the commission of, such violation. including but not limited to. the

following:

               $8.842.00 in United States currency. seized from Noel Williams on
               December 2. 20ID (the "Currency"):

       WHEREAS, the Indictment further provided that, if any of the above-described

forfeitable property, as a result of any act or omission by the Defendant. (a) cannot be located uplm

the exercise of due diligence; (b) has been transferred or sold to. or deposited with. a third part):

(c) has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided ""ithl1ut difficult).

the United States is entitled to seek forfeiture of any other property of the Defendant. up to (he

value of such assets, pursuant 2\ U,S.c. 853(p);

       WHEREAS, on Apri I 26, 2012. at a hearing pursuant to Rule I I 0 f the Federal Rules () f

Criminal Procedure, the Defendant pled guilty to Count One of the Indictment. The Defendant

also signed a written plea agreement in which he consented to the forfeiture of the Currency, and

admitted thet the Currency was subject to forfeiture;

       WHEREAS, in light of the Defendant's guilty plea and admis~ions in the plea agreement.

the United States has established the requisite nexus between the Currency and the offense to

which the Defendant pled guilty, Accordingly, the Currency is subject to forfeiture III the United

States pursuant 21 U,S,c. § 853;
                                                   2
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       WHEREAS, pursuant to 21 U.S.c. § 853 and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a Preliminary Order at' Forfeiture again~t

the Currency.

       ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED thal:

        I.      The Court finds, pursuant to Rule 32.2(b)( I) of the Federal Rules of Criminal

Procedure, that the government has established the requisite nexus between the Currency and the

offense to which the Defendant pled guilty.

       2.       Accordingly, all of the Defendant's interests in the Currency are hereby forfeited to

the United States of America for disposition pursuant to 21 U.S.c. § 853.

       3.       Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure. the l.nlled

States is hereby authorized to seize the Currency and maintain it in its secure custody and control

       4.       Pursuant to 21 U.S.c. § 853(n)(I), as incorporated 21 U.S.c. ~ 8'\3. the Lnitcd

States shall publish, for thirty (30) consecutive caJendardays on the government forfeiture website

www.forfeiture.gov, notice of the Pre] iminary Order of Forfeiture and not ice of the United State,'

intent to dispose of the Currency.

       5.       Pursuant to 21 U.S.c. § 853(n)(1), as incorporated by 21 LJ.S.c. § 853. the L;nilcJ

States shall give, to the extent practicable, direct written notice to any person knO\\ n to have

alleged an interest in the Currency to be forfeited.

       6.       Pursuant to 21 U.S.C § 853(n)(2) and (3). as incorporated by 21 USc. § 853. lhe

notice referred to above shall state: (a) that any person, other than the Ddendant. ass~ning a legal

interest in the Currency, shall, within sixty (60) days after the first day of publication UI1 the

government forfeiture website or within thirty (30) days after receipt of actual nOlice, whichevt:f is

                                                   3
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earlier, file a petition with the United States District Court in Boston. Massachusetts. requesting a

hearing to adjudicate the validity of his or her interest in the Currency; and (b) that the petition

shall be signed by the petitioner under the penalty of perjury and sha.11 set forth the nature and

extent of the petitioner's right, title, or interest in the Currency. the time and circumstances or the

petitioner's acquisition of the right. title. or interest in the Currency. any additional facts

supporting the petitioner's claim, and the relief sought.

       7.      Pursuant to 21 U.S.c. § 853(n)(7). as incorporated by 2 J Us.c. q 853. roll()\\ ing

the Court's disposition of all petitions filed under 21 U.S.c. § 85 3(n)(6). or if no such petitions are

filed following the expiration of the period provided in 2 J U.S.c. § 853(n)(2) for the filing of such

petitions, the United States of America shall have clear title to the Currency.

       8.      Upon adjudication of all third party interests. this Court will enter a linal Order \11

Forfeiture, pursuant to 21 U.S.c. § 853 and Rule 32.2(c) of the Federal Rules orCriminal

Procedure, in which all interests will be addressed.

       9.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure. this

Preliminary Order of Forfeiture will become fmal as to the Defendant at the time of his <;entencing.

will be part of the Defendant's criminal sentence, and will be included in the criminal judgment

entered by this Court against.




                                                        DOUGLASP.WOODLOCK
                                                        United States District Judge




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